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 9   Attorneys for Defendant
10                                    UNITED STATES DISTRICT COURT
11                                   EASTERN DISTRICT OF CALIFORNIA
12
                                                       ) Case No.: 2:24-CV-00474
13   Valentina Coronado,                               )
                                                       ) STIPULATION AND ORDER FOR AN
14                      Plaintiff,                     ) EXTENSION OF TIME
                                                       )
15            vs.                                      )
                                                       )
16   Commissioner of Social Security,                  )
                                                       )
17                                                     )
                        Defendant.                     )
18                                                     )
19            Pending the Court’s approval, IT IS HEREBY STIPULATED, by and between the
20   parties, through their respective counsel of record, that the time for Defendant to respond to
21   Plaintiff’s Motion for Summary Judgment be extended thirty (30) days from July 17, 2024, up to
22   and including August 16, 2024. This is Defendant’s first request for an extension.
23            Defendant requests this extension in order to further consider the administrative record in
24   light of the issues raised in Plaintiff’s motion. The undersigned has a number of competing
25   deadlines in cases pending in this district and other districts.
26            The parties further stipulate that the Court’s Scheduling Order shall be modified
27   accordingly.
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     Stip. for Ext.; 2:24-CV-00474                      1
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 1                                                Respectfully submitted,
 2
 3   Dated: June 21, 2024                         /s/ Jonathan O. Pena*
                                                  (*as authorized via e-mail on June 21, 2024)
 4                                                JONATHAN O. PENA
                                                  Attorney for Plaintiff
 5
 6
     Dated: June 21, 2024                         PHILLIP A. TALBERT
 7                                                United States Attorney
 8                                                MATHEW W. PILE
                                                  Associate General Counsel
 9                                                Social Security Administration
10                                        By:     /s/ Erin A. Jurrens
11                                                ERIN A. JURRENS
                                                  Special Assistant U.S. Attorney
12
                                                  Attorneys for Defendant
13
14
                                                 ORDER
15
              Pursuant to the parties’ stipulation, IT IS SO ORDERED that Defendant shall have an
16
     extension, up to and including August 16, 2024, to respond to Plaintiff’s Motion for Summary
17
     Judgment.
18
19   Dated: June 21, 2024
                                                     _____________________________________
20                                                   CAROLYN K. DELANEY
21                                                   UNITED STATES MAGISTRATE JUDGE

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     Stip. for Ext.; 2:24-CV-00474                   2
